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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION




   OBA CHANDLER,

                    Petitioner,

   -vs-                                                                 Case No. 8:03-cv-1347-T-30TGW

   JAMES V. CROSBY, JR., et al.,

              Respondents.
   ______________________________/

                                                       ORDER

           This matter comes before the Court for consideration of Petitioner’s Notice of Appeal

   (Dkt. 28) of the February 8, 2006 decision denying his petition for relief under 28 U.S.C. §

   2254, see Dkt. 26, and an Application for Certificate of Appealability filed pursuant to Rule

   22, Fed. R. App. P.,1 and 28 U.S.C. §22532 (Dkt. 29). Petitioner did not pay the appellate

   filing fee and costs or seek leave to proceed on appeal in forma pauperis.

           While issuance of a COA does not require a showing that the appeal will succeed,

   more than the absence of frivolity or the presence of good faith is required for a petitioner



           1
             "Certificate of Appealability. (1) In a habeas corpus proceeding in which the detention complained
   of arises from process issued by a state court, or in a 28 U.S.C. §§ 2255 proceeding, the applicant cannot take
   an appeal unless a circuit justice or a circuit or district judge issues a certificate of appealability under 28
   U.S.C. §§ 2253(c). If an applicant files a notice of appeal, the district judge who rendered the judgment must
   either issue a certificate of appealability or state why a certificate should not issue. . . . If no express request
   for a certificate is filed, the notice of appeal constitutes a request addressed to the judges of the court of
   appeals." Rule 22, Fed. R. App. P.
           2
               “Unless a circuit justice or judge issues a certificate of appealability, an appeal may not be taken to
   the court of appeals from -- (A) the final order in a habeas corpus proceeding in which the detention
   complained of arises out of process issued by a State court;. . . (2) A certificate of appealability may issue .
   . . only if the applicant has made a substantial showing of the denial of a constitutional right." 28 U.S.C. §
   2253(c).
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   to clear this hurdle. See Miller-El v. Cockrell, 537 U.S. 322, 338 (2003). Under the

   controlling standard for issuance of a certificate of appealability where a district court has

   rejected a prisoner's constitutional claims on the merits, the petitioner must demonstrate

   that reasonable jurists would find the district court's assessment of the constitutional claims

   debatable or wrong. See Slack v. McDaniel, 529 U.S. 473, 484 (2000); Eagle v. Linahan,

   279 F.3d 926, 935 (11th Cir. 2001). To obtain a certificate of appealability when the district

   court has rejected a claim on procedural grounds, the petitioner must show that jurists of

   reason would find it debatable whether (1) the petition states a valid claim of the denial of

   a constitutional right and (2) the district court was correct in its procedural ruling. Slack,

   529 U.S. at 484; Franklin v. Hightower, 215 F.3d 1196, 1199 (11th Cir. 2000) (per curiam).

            Petitioner’s challenge to his 1994 state convictions for first degree murder (3 counts)

   was denied on the merits. Because Petitioner has failed to demonstrate that reasonable

   jurists would find the Court's assessment of the Petition debatable or wrong, he has failed

   to satisfy the two-prong Slack test. 529 U.S. at 484.

            ACCORDINGLY, the Court ORDERS that the Application for Certificate of

   Appealability (Dkt. 29) is DENIED.

            DONE and ORDERED in Tampa, Florida on May 16, 2006.




   Copies furnished to:
   All Parties/Counsel of Record

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